Case 3:19-cr-90137-PDW Document 104 Filed 08/16/20 Page 1 of 2

Case 3:19-cr-00137-PDW *SEALED* Document: 24 Filed 08/22/19 Page 1 of 2

Local AO 442 (Rev 10/11) Arrest Warrant

UNITED STATES DISTRICT COURT
DISTRICT OF NORTH DAKOTA

United States of America
Vv.

Micah Pharez Martin, a/k/a Lil Pat Case No, 3:19-cr-137 = Ve"

eee ee
'

Defendant

 

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

. tne nares arin aleia Til’ B
(name of person to be arrested) Micah Pharez Martin. a/k/a Lil Pat

who is accused of an offense or violation based on the following document filed with the court:

A Indictment [ Superseding Indictment O Information © Superseding Information Complaint
1 Probation Violation Petition C1 Supervised Release Violation Petition OM Violation Notice O Order of the Court

This offense is briefly described as follows:

Conspiracy to Possess with Intent to Distribute and Distribute a Controlled Substance
Distribution of a Controlled Substance - Oxycodone
Aiding and Abetting

 

Date: 08/22/2019 /s/ Leah Riveland-Foster

Issuing officer's signature

City and state: Fargo, ND Leah Riveland-Foster, Deputy Clerk

Printed name and title

 

Return

 

 

This warrant was_received on (dare) O& ) aa 20\ & , and the person was arrested on (date) 03 } i) / MAG
at (city and state) "Nee C $9, 6. ND

Date: _ SD] 13/2020 : “Wy oc Y8SL

ing officer's signature

- SS Meoyzc Dusm

Printed dame anditle

 

 
Case 3:19-cr-0013%PDW Document 104 Filed 03/16/20 Page 2 of 2

Case 3:19-cr-00137-PDW *SEALED* Document 24 Filed 08/22/19 Page 2 of 2

AO 442 (Rev. 1O/I1) Arrest Warrant (Page 2)

 

This second page contains personal identifiers provided for law-enforcement use only
and therefore should not be filed in court with the executed warrant unless under seal.

(Not for Public Disclosure)

Name of defendant/offender:
Known aliases:

Last known residence: - /
Prior addresses to which defendant/offender may still have ties:
Last known employment:

Last known telephone numbers:
Place of birth:

Date of birth:

Social Security number:

Height: Weight:

Hex: : a - Race: . . ee
Hair: oe oe secee ree els ao... Eyes: SD oe

History of violence, weapons, drug use:

Known family, friends, and other associates (name, relation, address, phone number):

FBI number: _ _ a a =

Complete description of auto:

Investigative agency and address:

Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):
